               Case 8:18-bk-11098-CPM         Doc 23     Filed 05/06/19      Page 1 of 2



                                         ORDERED.


         Dated: May 06, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov


In re:                                                       Case No. 8:18-bk-11098-CPM
                                                             Chapter 7
David Wayne Jones
Karen Lynn Jones

          Debtors.
                                               /


    AGREED ORDER GRANTING MOTION FOR RELIEF FROM STAY AND
  REQUESTING CANCELLATION OF HEARING SCHEDULED FOR MAY 6, 2019
          (Re: 341 & 345 S. Hwy. 7, Sidney (T/O Unadilla), New York 13838)

          THIS CASE came on for consideration of the Motion for Relief from Stay, Doc. No. 19

filed by NBT Bank, N.A., and the Trustee’s Response, Doc. No. 20, which are scheduled for

hearing on May 6, 2019. The Court having reviewed the Motion and the Response, having been

advised that the parties agree to the entry of this Order, and based on the record, it is:

          ORDERED:

          1. The Motion is GRANTED subject to the limitations outlined below.

          2.   The automatic stay arising by reason of 11 U.S.C. Section 362 of the Bankruptcy

          Code is terminated as to the Movant’s interest in the property located at 341 & 345 State

          Hwy. 7, Sidney, New York 01338 (as described on attached Exhibit A)
           Case 8:18-bk-11098-CPM           Doc 23     Filed 05/06/19     Page 2 of 2



       (the “Property”).

       3. Termination of the automatic stay is delayed ninety (90) days from entry of this order

           to allow the Trustee the opportunity to market and sell the Property.

       4. Movant must either be paid in full from the proceeds of any sale, or approve any short

           sale.

       5. After ninety (90) days of entry of this Order, the automatic stay is terminated for the

           sole purpose of allowing Movant to complete in rem relief, to take any and all steps

           necessary to exercise any rights it may have in the Property, to gain possession of the

           Property, and to have in rem relief in accordance with non-bankruptcy law. Movant

           does not in personam relief against Debtor.


       6. The hearing scheduled for May 6, 2019, at 3:30 p.m. is canceled.




Attorney David E. Hicks is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF and file a proof of service within 3 days of entry of the order.
